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                                            MARDEROSIAN and ARON M. MARDEROSIAN
             6
             7
             8                                 UNITED STATES DISTRICT COURT
             9                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                               (Western Division – Los Angeles)
             10
             11       TWELVE SIXTY LLC,                       )    Case No.
                      ROBERT J. MARDEROSIAN,                  )
             12       ARON M. MARDEROSIAN,                    )    COMPLAINT FOR
                                                              )    COPYRIGHT INFRINGEMENT
             13                             Plaintiffs,       )
                                                              )
             14                        v.                     )
                                                              )    DEMAND FOR JURY TRIAL
             15       MEDIASET ESPANA, TELECINO               )
                      CINEEMA, CUATRO and                     )
             16       DOES 1 - 10, inclusive,                 )
                                                              )
             17                             Defendants.       )
             18
             19             Plaintiffs TWELVE SIXTY LLC, ROBERT J. MARDEROSIAN and ARON M.
             20       MARDEROSIAN (collectively, “Plaintiffs”) allege as follows:
             21                                   PRELIMINARY STATEMENT
             22             1.    Plaintiffs bring this action seeking to put an immediate stop to, and to
             23       obtain redress for, Defendants’ blatant and purposeful infringement of the copyright
             24       in Plaintiffs’ musical composition entitled “House of the Rising Sun.”
             25             2.    Plaintiffs Robert J. Marderosian and Aron M. Marderosian are two
             26       brothers who have worked together for almost 30 years to develop their business,
             27       Plaintiff Twelve Sixty LLC, which provides original musical compositions and
             28       productions for use in television, motion pictures, film trailers, film soundtracks,
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             1        product commercials and video games. Plaintiffs ROBERT J. MARDEROSIAN and
             2        ARON M. MARDEROSIAN are musical artists and performers, professionally known
             3        as “Heavy Young Heathens.” As Heavy Young Heathens, the Plaintiffs have written
             4        and recorded music for many premiere entertainment clients including major movie
             5        studios, networks and advertisers around the world.
             6                3.    Among many other commercial uses of Plaintiffs’ musical recordings,
             7        Plaintiffs have had their work featured in such recent theatrical motion pictures as
             8        Rules Don’t Apply, Masterminds and Supermensch, as well as prominent trailers for
             9        the motion pictures The Magnificent Seven, Deadpool, The Amazing Spider-Man and
             10       The Expendables.
             11               4.    Plaintiffs’ music has additionally been used in numerous television
             12       programs such as The Simpsons, CSI, Lucifer, Jersey Shore, Punk’d and ESPN’s 30 for
             13       30, and commercials for Starbucks, Chrysler, Dodge, Ford, Bacardi, Adidas and Red
             14       Bull.
             15               5.    Plaintiffs arranged and produced a master recording of the musical
             16       composition “House of the Rising Sun”, which is a traditional song. The arrangement
             17       and production was the subject of a copyright registration by Plaintiff Aron
             18       Marderosian and Plaintiff Robert Marderosian.
             19               6.    Recognizing Plaintiffs’ popularity, talent and goodwill, and in a brazen
             20       and improper effort to capitalize on Plaintiffs’ hard-earned success, Defendant has
             21       created and publicized (or caused to be created and publicized) commercial
             22       advertisements and other media which prominently features significant portions of
             23       Plaintiffs’ musical composition “House of the Rising Sun” without authorization from
             24       Plaintiffs.
             25               7.    Defendants’ conduct is causing, and unless immediately enjoined will
             26       continue to cause, enormous and irreparable harm to Plaintiffs. Defendant may not
             27       continue to exploit Plaintiffs’ musical composition without authorization in order to
             28       advertise or promote their products to the public.        Defendants’ conduct must
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             1        immediately be stopped and Plaintiffs must be compensated for Defendants’ willful
             2        acts of infringement.
             3                                   JURISDICTION AND VENUE
             4              8.     This is a civil action seeking damages and injunctive relief for copyright
             5        infringement under the Copyright Act of the United States, 17 U.S.C. § 101, et seq.
             6              9.     This Court has subject matter jurisdiction over this copyright infringement
             7        action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
             8              10.    This Court has personal jurisdiction over Defendant because, among other
             9        things, Defendant is doing business in the State of California and in this judicial
             10       district, the acts of infringement complained of herein occurred in the State of
             11       California and in this judicial district, and Defendant has caused injury to Plaintiffs and
             12       their intellectual property within the State of California and in this judicial district.
             13             11.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and (c),
             14       and/or § 1400(a).
             15                                           THE PARTIES
             16             12.    Plaintiff TWELVE SIXTY LLC (“hereinafter referred to as “Twelve
             17       Sixty”) is, and at all times relevant hereto was, a California Limited Liability company
             18       doing business in the County of Los Angeles County, State of California.
             19             13.    Plaintiff ARON M. MARDEROSIAN is an individual who resides and
             20       works in the County of Los Angeles in the State of California.
             21             14.    Plaintiff ROBERT J. MARDEROSIAN is an individual who resides and
             22       works in the County of Los Angeles in the State of California.
             23             15.    Defendant MEDIASET ESPANA is a media outlet based in Spain but
             24       doing business in the State of California.
             25             16.    Defendant TELECINO CINEEMA is a television network based in Spain
             26       but doing business in the State of California.
             27             17.    Defendant CUATRO is a television network based in Spain but doing
             28       business in the State of California.
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             1              18.    The true names and capacities, whether individual, corporate, associate,
             2        or otherwise, of Defendants sued herein as Does 1-10, are unknown to Plaintiffs, who
             3        therefore sue said Defendants by such fictitious names (“Doe Defendant”). Plaintiffs
             4        will seek leave of Court to amend this Complaint to state their true names and
             5        capacities when they have been ascertained. Plaintiffs are informed and believe and
             6        on that basis allege that the Doe Defendants are liable to Plaintiffs as a result of their
             7        participation in all or some of the acts hereinafter set forth.
             8              19.    On information and belief, the Defendants and each of them, were the
             9        agents, employees, affiliates and/or engaged in a joint venture with each of the
             10       remaining Defendants, and were at all times acting within the purpose of said agency
             11       and employment, and each defendant has ratified and approved the acts of its agents.
             12                                   GENERAL ALLEGATIONS
             13             20.    Plaintiffs are the authors of the music and lyrics to the original musical
             14       composition “House of the Rising Sun.” Plaintiffs own the rights and title to the
             15       copyright in the composition “House of the Rising Sun” (the “Infringed Composition”)
             16       as authors and through their publishing entities.
             17             21.    Plaintiffs filed an application for copyright registration with the United
             18       States Copyright Office for the musical composition “House of the Rising Sun” and
             19       the song was registered on May 31, 2016, under SR 785-194. A true and correct copy
             20       of the registration is attached hereto as Exhibit A.
             21             22.    In or around December 2017, it came to Plaintiffs’ attention that
             22       Defendants and/or their agents and/or their co-conspirators reproduced, distributed,
             23       and/or publicly performed (and/or caused to be reproduced, distributed, and/or publicly
             24       performed) a substantial portion of the Infringed Composition without Plaintiffs’
             25       authorization in a commercial advertisements and promotions.
             26             23.    Defendants do not have any license, authorization, permission or consent
             27       to use the Infringed Composition.
             28       ///
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             1              24.    In fact, on December 5, 2017 and multiple times thereafter, Plaintiffs’
             2        counsel provided written notice to Defendant MEDIA SET ESPANA’S counsel that
             3        the use of the Infringed Composition by Defendants constituted infringement of
             4        Plaintiffs’ rights and demanded that Defendants immediately cease and desist from any
             5        further use of the Infringed Composition. Plaintiffs are entitled to injunctive relief and
             6        redress for Defendants’ willful, intentional and purposeful use and exploitation of the
             7        Infringed Composition for their own financial benefit with full knowledge that such
             8        use constituted infringement of, and was in disregard of, Plaintiffs’ rights.
             9                                               COUNT 1
             10                                COPYRIGHT INFRINGEMENT
             11                                     (17 U.S.C. §§ 106 and 501)
             12             25.    Plaintiffs incorporate herein by this reference each and every allegation
             13       contained in paragraphs 1 through 24, inclusive.
             14             26.    Through their conduct alleged herein, Defendants have infringed
             15       Plaintiffs’ copyright in the Infringed Composition in violation of Sections 106 and 501
             16       of the Copyright Act, 17 U.S.C. §§ 106 and 501.
             17             27.    Defendants’ acts of infringement are willful, intentional and purposeful,
             18       in disregard of and with indifference to Plaintiffs’ rights.
             19             28.    As a direct and proximate result of said infringement by Defendants and
             20       each of them, Plaintiffs are entitled to damages in an amount to be proven at trial.
             21             29.    Plaintiffs are also entitled to Defendants’ profits attributable to the
             22       infringement, pursuant to 17 U.S.C. § 504(b), including an accounting of and a
             23       constructive trust with respect to such profits.
             24             30.    Plaintiffs further are entitled to their attorneys’ fees and full costs pursuant
             25       to 17 U.S.C. § 505 and otherwise according to law.
             26             31.    As a direct and proximate result of the foregoing acts and conduct,
             27       Plaintiffs have sustained and will continue to sustain substantial, immediate, and
             28       irreparable injury, for which there is no adequate remedy at law. Plaintiffs are
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             1        informed and believe and on that basis allege that unless enjoined and restrained by
             2        this Court, Defendants will continue to infringe Plaintiffs’ rights in the Infringed
             3        Composition. Plaintiffs are entitled to preliminary and permanent injunctive relief to
             4        restrain and enjoin Defendants’ continuing infringement conduct.
             5                                                COUNT 2
             6                                         CIVIL CONSPIRACY
             7              32.       Plaintiffs repeat, reallege, and incorporate by reference each and every
             8        allegation contained in Paragraphs 1 through 31, inclusive, as though fully set forth
             9        herein.
             10             33.       Defendants conspired with one another to wrongfully exploit Twelve
             11       Sixty’s Master recording, “House of the Rising Sun” internationally without having
             12       to fairly or properly compensate Twelve Sixty for the exploitation.
             13             34.       Defendants authorized, understood, and enabled, one another to exploit
             14       Twelve Sixty’s Master internationally without paying Twelve Sixty any money for this
             15       exploitation.
             16             35.       On information and belief, Defendants have benefitted from the illegal
             17       exploitation of Plaintiffs’ song which were not authorized or permitted.
             18             36.       Defendants have not paid Plaintiffs any money whatsoever for these
             19       exploitations of their song and Plaintiffs have been significantly damaged as a result
             20       of this scheme between Defendants and its co-conspirators.
             21             37.       The conduct of Defendants as described herein is wilful, wanton,
             22       malicious, fraudulent, and oppressive such that Twelve Sixty is entitled to punitive
             23       damages.
             24                                               PRAYER
             25             WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of
             26       them, jointly and severally, as follows:
             27             1.        For damages in such amount as may be found, or as otherwise permitted
             28       by law;
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             1              2.     For an accounting of, and the imposition of constructive trust with respect
             2        to, Defendants’ profits attributable to their infringements of Plaintiffs’ copyright in the
             3        Infringed Composition;
             4              3.     For a preliminary and permanent injunction prohibiting Defendants, and
             5        their respective agents, servants, employees, officers, successors, licensees and assigns,
             6        and all persons acting in concert or participation with each or any of them, from
             7        continuing to infringe Plaintiffs’ copyright in the Infringed Composition;
             8              4.     For prejudgment interest according to law;
             9              5.     For Plaintiffs’ attorneys’ fees, costs, and disbursements in this action; and
             10             6.     For such other and further relief as the Court may deem just and proper.
             11                                  DEMAND FOR JURY TRIAL
             12             Plaintiffs demand a trial by jury.
             13       Dated: February 5, 2018                     MARDEROSIAN & COHEN
             14
                                                                         /s/ Michael G. Marderosian
             15                                                   By:
                                                                         Michael G. Marderosian,
             16                                                          Attorneys for Plaintiffs
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                     EXHIBIT A
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